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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLORADO

   Civil Action No. 12-cv-01381-WYD-KMT

   HEATHER CARTER,

           Plaintiff,

   v.

   DAVID C. LOUCKS, M.D.;
   RICHARD M. LOTSPEICH, P.A.-C; and
   PEAK ORTHOPEDICS AND SPINE, P.L.L.C.,

           Defendants.


                                            FINAL JUDGMENT


           Pursuant to and in accordance with the Order of Dismissal, filed on May 9, 2013 by the

   Honorable Wiley Y. Daniel, Senior United States District Judge, and incorporated herein by

   reference as if fully set forth, it is

           ORDERED that the Stipulation is APPROVED, and the claims against Defendants

   Richard M. Lotspeich, P.A.-C and Peak Orthopedics and Spine, P.L.L.C. are DISMISSED WITH

   PREJUDICE, each party to pay their own costs and attorney fees. Defendants Richard M.

   Lotspeich, P.A.-C and Peak Orthopedics and Spine, P.L.L.C. shall hereafter be taken off the

   caption.

           THIS MATTER came before the Court and a jury of ten duly sworn to try the matter on

   September 14, 2015, the Honorable Wiley Y. Daniel, Senior United States District Judge,

   presiding. On September 22, 2015, one juror was excused due to illness and a jury of nine duly

   sworn to try the matter continued. On September 23, 2015, the jury returned its verdict as

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   follows:

                                         Special Verdict Form A

   DO NOT ANSWER THIS SPECIAL VERDICT FORM A IF YOUR FOREPERSON HAS
   COMPLETED SPECIAL VERDICT FORM B AND ALL JURORS HAVE SIGNED IT.

             We, the jury, present our Answers to Questions submitted by the Court, to which we

   have all agreed:

             1.     Did Heather Carter have injuries, damages, or losses? (Yes or No)

             ANSWER: YES

             2.     Was the defendant, David C. Loucks, M.D., negligent? (Yes or No)

             ANSWER: NO

             3.     Was the negligence, if any, of the defendant, David C. Loucks, M.D., a cause of

   any of the injuries, damages, or losses claimed by the plaintiff? (Yes or No)

             ANSWER:      NO

             We, the jury find for the defendant and award no damages to the plaintiff, Heather

   Carter.

             IT IS THEREFORE

             ORDERED that judgment is hereby entered in favor of Defendant, David C. Loucks, and

   against Plaintiff, Heather Carter, on Plaintiff’s claim of Medical Malpractice. It is further

             ORDERED that plaintiff’s complaint and action are dismissed with prejudice. It is further

             ORDERED that Defendant shall have its costs by the filing of a Bill of Costs with the

   Clerk of this Court within fourteen (14) days of entry of judgment, and pursuant to the

   procedures set forth in Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1.



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          DATED at Denver, Colorado this 24th day of September, 2015.

                                                    FOR THE COURT:

                                                    JEFFREY P. COLWELL, CLERK




                                                    /s/ Robert R. Keech
                                                    Robert R. Keech,
                                                    Deputy Clerk


   APPROVED AS TO FORM:




   /s/ Wiley Y. Daniel
   WILEY Y. DANIEL,
   SENIOR UNITED STATES DISTRICT JUDGE




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